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Case 2:05-CV-OZ`YBBD-tmp Document 12 Fl|ed 08/24/05 Page g
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§§ THE UNITED STATES DISTRICT COURT FFLED sss M ,`

05 hug 25 PH 2.F6)§{ THE WESTERN DISTRICT OF TENNESSEE

 

 

 

 

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LEVATOR *
G, INC.,
Plaintiff,
v. ` '
No. 05_23171)1> -`- ,
MICHAEL R. sUTToN d/b/a Mon f ` ’ 1
ou GHAm '
DMCELEVATQR.<JOM, ED -S- MsGiofH¢KC/U\
__ Defendant. ny l A j y MU`['
_ DA i_ "
__ MoTIoN FoR sUBsTITUTIoN oF coUNsEL

 

Cornes now your Defendant, Mike Sutton, and moves this Honorable Couit to
allow substitution of counsel. Currently, Brad Trammell and the Baker Donelson
Caldwell & Berkowitz Law Firm represent Defendant. The Defendant moves this
court to allow a substitution of counsel such that the Law Ofiice of Edward M.
Bearman would be substituted as Defendants counsel and relieving Brad Trammell

and Baker Donelson Law Firm of any further responsibilities in this matter.

Respectfully Submitted,

 
     

Edward M. Bearman (14242)
780 Ridge Lake Blvd.

Suite 202

Mernphis, TN 38120

   

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sun arise 58 and/or velez FHCP en

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CERTIFICATE OF SERVICE

    

Edward M. Bearman

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02317 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

